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                                UNITED STATES BANKRUPTCY COURT

                                   EASTERN DISTRICT OF LOUISIANA

    In re:                                             §
                                                       §          Case No. 20-10846
    THE ROMAN CATHOLIC CHURCH OF                       §
    THE ARCHDIOCESE OF NEW                             §          Section “A”
    ORLEANS,                                           §
                                                       §          Chapter 11
                           1
                 Debtor.                               §
                                                       §


         RESPONSE TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
        MOTION FOR ORDER FOR ISSUANCE OF SUBPOENAS FOR DISCOVERY
           FROM THE APOSTOLATES PURSUANT TO FEDERAL RULE OF
                       BANKRUPTCY PROCEDURE 2004

             Now into Court, through undersigned counsel, come the Apostolates, who file this response

   (“Response”) to the Official Committee of Unsecured Creditors’ Motion for Order for Issuance of

   Subpoenas for Discovery from the Apostolates Pursuant to Federal Rule of Bankruptcy Procedure

   2004 [Dkt. # 1381] (“Motion”), a copy is attached hereto as Exhibit A. The Apostolates recognize

   that, if they are going to receive a Channeling Injunction in connection with a confirmed Plan of

   Reorganization, certain disclosures of the assets and liabilities of the Apostolates are required. As

   set forth in the Motion, the Apostolates have been providing the Official Committee of Unsecured

   Creditors (“Tort Committee”) and its advisors financial information and data concerning the assets

   and liabilities of each Apostolate over the last year and half. The extent of the information

   provided has been significant. The Motion filed by the Tort Committee can be broken down into

   the following categories:

                      a) Request for new information that they are entitled to receive;


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             The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s
   principal place of business is located at 7887 Walmsley Ave., New Orleans, LA 70125.


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                   b) Requests for information where either the information has been provided, or the

                      information was provided but the Tort Committee does not like the format in

                      which it was provided, or the Tort Committee does not like or believe the

                      responses provided by the Apostolates to the requests; and

                   c) Requests for information that go beyond that necessary to determine the

                      contribution an Apostolate will be required to make and that attempt to seek

                      information as though an Apostolate was in fact a debtor.

                           RULE 2004 EXAMINATIONS GENERALLY

          1.       “[A] bankruptcy court ‘has abundant legal authority to order the retrieval of

   information concerning a debtor and his estate from persons and entities who are not parties in a

   bankruptcy case.’” In re Correa, 589 B.R. 76, 107 (Bankr. N.D. Tex. 2018). To that end, Federal

   Rule of Bankruptcy Procedure 2004 permits “any party in interest” to examine any entity relative

   to the “acts, conduct, or property or…liabilities and financial condition of the debtor, or to any

   matter which may affect the administration of the bankruptcy estate.” This rule “affords both

   debtors and creditors the broad rights of examination of a third-party’s records.” In re Cousins

   Barricades & Metal Products, Inc., 2000 WL 245860, *3 (E.D. La. 2000), citing, Snyder v. Society

   Bank, 181 B.R. 40, 41 (S.D. Tex.), aff’d 52 F.3d 1067 (5th Cir. 1995). See also in re Ionosphere

   Clubs, Inc., 156 B.R. 414, 432 (S.D.N.Y. (“Because the purpose of the Rule 2004 Investigation is

   to aid in the discovery of assets, any third party who can be shown to have a relationship with the

   debtor can be made subject to a Rule 2004 investigation.”), aff’d 17 F.3d 600 (2nd Cir. 1994).

                   PROCEDURE FOR OBTAINING RULE 2004 EXAMINATION

          2.       The party seeking a Rule 2004 examination must file a motion with the bankruptcy

   court for an order allowing the examination and “must establish good cause for taking the exam.”




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   In re Roman Catholic Church of Diocese of Gallup, 513 B.R. 761, 764 (Bankr. D. New Mexico

   2014), citing, In re Hammond, 140 B.R. 197, 201 (S.D. Ohio 1992). The right to a Rule 2004

   examination is not absolute. First National Bank v. Scaccia, 1998 WL 123332 (E.D. La. 1988).

   Instead, it is within the discretion of the bankruptcy court whether to permit a Rule 2004

   examination. In re Enron Corp., 281 B.R. 836, 840 (Bankr. S.D.N.Y. 2002), citing, In re Bd. Of

   Dirs. of Hopewell Int’l Ins., Ltd., 258 B.R. 580, 587 (Bankr. S.D.N.Y. 2001); In re French, 145

   B.R. 991, 993 (Bankr. D.S.D. 1992). “[T]he granting of a Rule 2004 examination is dependent on

   the discretion of the court [and] requires a balancing of ‘the competing interests of the parties,

   weighing the relevance of and necessity of the information sought by examination.’” In re Dewitt,

   808 B.R. 794, 798 (Bankr. W.D. Pa. 2019), citing In re Millennium Lab Holdings II, LLC, 562

   B.R. 614, 625-27 (Bankr. D. Del. 2016) (footnotes omitted).

                              SCOPE OF RULE 2004 EXAMINATION

          3.       An examination “may be had only of those persons possessing knowledge of a

   debtor’s acts, conduct or financial affairs so far as this relates to a debtor’s proceeding in

   bankruptcy.” In re Buick, 174 B.R. 299, 304, quoting, Matter of Wilcher, 56 B.R. 428, 434 (Bankr.

   N.D. Ill. 1985) (quoting, In re GHR Energy Corp., 35 B.R. 534, 537. (Bankr. D. Mass. 1983)).

          In Enron, supra, the court noted that:

                   As a general proposition, Rule 2004 examinations are appropriate
                   for revealing the nature and extent of the bankruptcy estate…and for
                   ‘discovering assets, examining transactions, and determining
                   whether wrongdoing has occurred.’

   281 B.R. at 840, citing, In re Strecker, 251 B.R. 878, 882 (Bankr. D. Colo. 2000) (citing In re

   Duratech Indus., Inc. 241 B.R. 283, 289 (E.D. N.Y. 1999), See also In re Dewitt, 608 B.R. 794,

   797 (“Legitimate goals of Rule 2004 examinations include ‘discovering assets, examining




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   transactions and determining whether wrongdoing has occurred.’”) (quoting In re Millennium Lab

   Holdings II, 562 B.R. at 625).

          4.       The scope of a Rule 2004 examination is quite broad. In re Cousins Barricades &

   Metal Products, 2000 WL 245860 at *3; In re Enron Corp., 281 B.R. at 840; In re Roman Catholic

   Church of Diocese of Gallup, 513 B.R. at 764; In re Washington Mutual Inc., 408 B.R. 48, 49

   (Bankr. D. Del. 2009). In fact, a Rule 2004 examination is commonly referred to as a “fishing

   expedition.” Enron, 281 B.R. at 840 (“…courts have recognized that Rule 2004 examinations are

   broad and unfettered and in the nature of fishing expeditions, E.g., In re GHR Energy Corp., 33

   B.R. [at 453].”); In re Washington Mut., Inc., 408 B.R. at 50 (“A Rule 2004 examination ‘is

   commonly recognized as more in the nature of a ‘fishing expedition.’”) (quoting In re Bennett

   Funding Group, Inc., 203 B.R. 24, 28 (Bankr. N.D.N.Y. 1996)); In re Roman Catholic Church of

   Diocese of Gallup, 513 B.R. at 764; In re Buick, 174 B.R. at 305. Although broad, the scope of a

   Rule 2004 examination is not without any limits. In re Enron, 281 B.R. at 840; In re Washington

   Mul., Inc., 408 B.R. at 50; In re Roman Catholic Church of Diocese of Gallup, 513 B.R. at 764;

   In re Buick, 174 B.R. at 305.

                         LIMITATIONS ON RULE 2004 EXAMINATIONS

          5.       Bankruptcy courts have the discretion to “limit examination as justice requires.” In

   re: Roman Catholic Church of Diocese of Gallup, 513 B.R. at 765. Thus, it has been held that

   Rule 2004 examinations may not be used for abuse or harassment. In re Enron, 281 B.R. at 840;

   In re: Washington Mut., Inc., 408 B.R. at 50; In re Roman Catholic Church of Diocese of Gallup,

   514 B.R. at 764. They should be denied where the information sought to be discovered is

   “redundant, onerous, unnecessarily costly or unreasonably intrusive, or which usurps the Trustee’s

   authority.” In re Buick, 174 B.R. at 305. Further, bankruptcy courts should be “reticent to open




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   the door to Rule 2004 examinations which might be identical to or duplicative of existing discovery

   needs and activities of other interested parties.” Id.

            6.     Rule 2004 examinations also cannot be used to discover matters that have no effect

   on the administration of the bankruptcy estate, i.e., “matters that are not relevant to the basic

   inquiry.” In re: Roman Catholic Church of Diocese of Gallup, 514 B.R. at 764, quoting In re

   Mittco, Inc., 44 B.R. 35, 36 (Bankr. E.D. Wis. 1984); In re Washington Mut., Inc., 408 B.R. at 50,

   quoting In re Table Talk, Inc., 51 B.R. 143, 145 (Bankr. D. Mass. 1985) (quoting In re Mittco,

   Inc.).

            7.     The Court in In Re Roman Catholic Church of the Diocese of Gallup, Id at 764

   stated: “The Court exercises its discretion in this manner in order to mediate between two

   reasonable but opposing interests: efficient administration of the bankruptcy estate, on the one

   hand, and protecting the legitimate confidentiality rights of third parties (i.e.. the Apostolates) on

   the other hand. The Court believes that this ruling is a reasonable middle ground given the facts

   of the case.”

            8.     In Gallup, the Court ordered the third party “affiliated entities” to produce financial

   condition ….and information about insurance coverage. The Apostolates have already provided

   information to the Tort Committee in excess of that required by the Court in Gallup in an effort to

   cooperate and because the Apostolates believed that complying with most of the requests would

   reduce the costs and burdens of the case for the Debtor and the Apostolates. Unfortunately, the

   filing of the Motion and the overbroad reach of the production request indicate that the belief may

   prove to be incorrect.

                            DOCUMENTATION PRODUCED TO DATE




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          9.       The Apostolates have been providing financial information to the Tort Committee

   over the last 18 months. The last group of documents were produced in February of 2022 when

   the Apostolates provided information to the Tort Committee in response to a letter of December

   30, 2021. Attached hereto as Exhibit 1 is a copy of the Tort Committee’s letter and the response

   of the Apostolates to the requests included in that letter. Attached as Exhibit 2 is an index

   complete with Bates numbers of the documents that have already been produced.

          10.      The Tort Committee has represented that it is unable to determine the property that

   is owned by an Apostolate. The document referenced in the Tort Committee’s Request for

   Production Number 4, that has already been provided to the Tort Committee, discloses property

   owned by the Apostolates and broken down on an Apostolate by Apostolate basis. It is believed

   that the real issue is not whether the requested information has been disclosed but, rather, whether

   the information can be provided in a format more convenient for the Tort Committee.

          11.      At various times counsel for the Apostolates has received a complaint that the

   financial advisors for the Tort Committee do not possess information as to the operation of certain

   properties owned by special purpose Apostolate entities whose properties are managed by

   Christopher Homes (an Apostolate). Exhibit 3 to the Apostolates Response is a chart outlining

   information previously disclosed relative to the operations of property owned by a group of single

   member special purpose nonprofit Apostolates. In part, the Motion filed by the Tort Committee

   seeks to have the Apostolates produce information that has already been produced.

                            INITIAL PROBLEMS WITH THE MOTION

          12.      In other cases involving discovery of information, this Court has voiced the belief

   that a request for information must have “guardrails.” The Motion filed by the Tort Committee

   lacks such “guardrails” for the following reasons:




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          a) The Motion lacks any limitation on time periods for the requested information. A literal

             reading of Requests for Production Numbers 1, 2 and 3 seeking income statements,

             balance sheets and a listing of real estate holdings would require an Apostolate to

             produce financial information from the inception of the entity to the present. The

             Apostolates are not debtors, and the discovery needs to be tailored to address the

             present financial condition of an Apostolate not what was. The request for documents

             from an undefined time horizon repeats itself in a number of other categories of

             document requests contained in the Motion.

          b) Request for Production Number 8 related to the Catholic Foundation requests “all

             electronic systems and data” including, but not limited to, FIMS data. This request is

             not limited in time and would require a turnover of every bank account, investment

             account or other financial data related to the Catholic Foundation. The Tort Committee

             was previously provided a hard copy of the FIMS report (as opposed to the request for

             the program itself in electronic form) that reflects the interests owned by the Catholic

             Foundation, as well as every Apostolate, in Portfolio A.         In addition, the Tort

             Committee has the audited financial statement of the Catholic Community Foundation.

          c) The Tort Committee has been offered a copy of the year-end FIMS report for any period

             it chooses should the Tort Committee want to track over time an Apostolate’s

             ownership in Portfolio A. No need exists for the electronic copy of the program that

             contains information that is unrelated to the ownership interest of an Apostolate in

             Portfolio A.

          d) The Apostolates have redacted on the hard copy produced the names of persons and

             entities that are not Apostolates. In balancing the right of a person that is not an




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                Apostolate to financial privacy versus the desire of the Tort Committee to review

                everything within the information contained in the FIMS program, the privacy of third-

                party investors must be protected.

          e) Request for Production Number 9 is another example of a request that is unlimited to

                time and requests a host of information between Apostolates, as opposed to a request

                for such information for a limited period of time between an Apostolate and the

                Archdiocese.

                                       SUPPRESSED PARISHES
          13.       The Court will note that Requests for Production Numbers 1, 2 and 3 contain a

   listing of a number of different entities.   Most of the entities included are what are known as

   Suppressed Parishes. Entities on the list that are designated with an “Inc.” as opposed to an “LLC”

   are Suppressed Parishes. A Suppressed Parish is a Parish that has been closed and is no longer in

   operation. The parishioners of the Suppressed Parishes have become parishioners of other

   Parishes. The Suppressed Parishes have no operations. The assets of Suppressed Parishes consist

   of bank accounts, interests in Portfolio A and B and real estate.

                 SUPPRESSED PARISHES AND REQUESTS FOR PRODUCTION
                                 NUMBERS 1, 2 AND 3

          14.       On a number of occasions (the last being February of 2022), the Apostolates have

   supplied to the Tort Committee the financial information that exists for each of the Suppressed

   Parishes. In addition, information as to the real property owned by each Suppressed Parish has

   been provided.

                       REQUEST FOR PRODUCTION NUMBERS 1, 2 AND 3

          15.       The Apostolates’ only issue with the information requested in Request for

   Production Numbers 1, 2 and 3 is the scale of the requests which could be remedied by the Court’s



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   placing guardrails on the requests. The Apostolates suggest that the production be limited to 2019

   forward for the entities that possess such documentation.

                            REQUEST FOR PRODUCTION NUMBER 4

          16.      This request seeks the production of a Native Excel version of a document that has

   been previously produced. The document at issue contains a listing of the real estate owned by

   the Apostolates and contains a value listing (insurance value) for the properties identified on the

   document. The Apostolates do not have a Native Excel version of the document. The document

   is a document generated by Catholic Mutual.

                            REQUEST FOR PRODUCTION NUMBER 5

          17.      The Apostolates are unable to understand the request as it is written. By way of

   background, the Bar Date Order required the Archbishop to send a letter to each Parish requesting

   that they search their records to see if they had any information with respect to abuse claims that

   had not previously been provided to the Archdiocese. The purpose of the request was to provide

   the Archdiocese with names for purposes of providing actual notice of the Bar Date motion, as

   opposed to constructive notice to the persons whose names were previously unknown as possibly

   possessing abuse claims. A declaration from Father Carr was provided to the Tort Committee

   disclosing who responded to the Archbishop’s request for information. Father Carr’s declaration

   reveals that a few Parishes did furnish new information on abuse claims to the Archdiocese based

   upon a search of their records. It is believed that the information has been provided by the

   Archdiocese to the Tort Committee.

          18.      If Request for Production Number 5 is solely for this material, it is in the possession

   of the Archdiocese. If the request has a broader reach, a better explanation needs to be provided

   to the Apostolates as to what information is being requested.




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                           REQUEST FOR PRODUCTION NUMBER 6

         19.      The Apostolates have no initial response to Request for Production Number 6. It

  is the belief that all documents relative to Request for Production Number 6 have been produced

  by the Archdiocese. To the extent documents are identified that have not been already produced,

  they will be produced. The request, however, should be limited to individuals who have filed

  proofs of claim.

                           REQUEST FOR PRODUCTION NUMBER 7

         20.      This request seeks the production of documentation between the Archdiocese on

  one hand and the Apostolates on the other. It is not limited in time and the use of the term “and

  any other participant” has no meaning. It is not limited to documents relating to the assets and

  liabilities of an Apostolate. Limitations should be placed on the request with respect to: a) the

  time period covered; b) the type of document requested; and c) the document at issue must be

  related to an asset or liability currently on the balance sheet of an Apostolate.

                           REQUEST FOR PRODUCTION NUMBER 8

         21.      This request, as written, seeks every financial record of the Catholic Community

  Foundation and it exemplifies the fundamental dispute between the Apostolates and the Tort

  Committee. The Apostolates have no issue with disclosing the assets they have, and, for example,

  the Catholic Community Foundation has provided to the Tort Committee both a hard copy of the

  FIMS report (redacted to protect donors who are not Apostolates) and audited financial statements.

  The issue is that the Catholic Community Foundation and the Apostolates should not be required

  to disclose the source of the donations they receive and other information relative to the day-to-

  day operations of an Apostolate.




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          22.     In addition, no basis exists for the names of third parties (not Apostolates) who have

  invested in Portfolio A or in other investment vehicles managed by the Catholic Community

  Foundation to be disclosed to the Tort Committee. These individuals who are not seeking a

  Channeling Injunction have a right to have their financial information private. There is nothing to

  balance with respect to the disclosure of this information. These persons are third parties to the

  Chapter 11 case.

                           REQUEST FOR PRODUCTION NUMBER 9

          23.     This request seeks all agreements, contracts, etc. between the members of the

  Apostolates. It is not limited in time nor does it have any bearing on the current financial condition

  of an Apostolate and the contribution to be made by an Apostolate for a Channeling Injunction.

  To even attempt to address this request may take months or years and would require a painstaking

  analysis of every contract between every member of the Apostolates.            An example of how

  overbroad and overreaching this request is can best be illustrated by the Clarion Herald (a member

  of the Apostolates) and its transactions with any Apostolate who places an ad or notice in the paper.

  The request reaches into the day-to-day operations of the Parishes and the Non-Debtor Service

  Entities.

                          REQUEST FOR PRODUCTION NUMBER 10

          24.     This request reaches primarily the Parishes and seeks “all documents related to

  donor restrictions, or any accounts maintained by the Apostolates”. The request seeks the names

  of donors of and the amounts of any “restricted donation” made to any Apostolate.                The

  Apostolates are not debtors, and they are entitled to protect the names and addresses of anyone

  who makes either a restricted or unrestricted gift to an Apostolate as well as the amounts of those

  donations.




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                                            CONCLUSION

         The Apostolates have tried to be responsive to the requests for information made by the

  Tort Committee where it was believed that providing the information would help expedite the

  process. The Apostolates have not taken the position that no financial information of an Apostolate

  would be provided as was done by the Apostolate equivalent in the Archdiocese of St. Paul case.

  The Court in that case, in deciding whether to require the St. Paul Apostolates to turn over financial

  information, ruled in a one paragraph opinion that the Motion to Quash was granted (See Exhibit

  4).

         In connection with the Tort Committee’s Motion, this Court should deny the Motion and

  require the Tort Committee to file a new request with guardrails that a) contains a timeframe

  limited to the assets of an Apostolate today; b) protect private information and the privacy of third

  parties; c) do not request information that has been previously provided; and d) can be complied

  with without an exhaustive search of the contracts and records of 185 entities.

  April 8, 2022

                                         Respectfully submitted:


                                         /s/ Douglas S. Draper
                                         Douglas S. Draper, La. Bar No. 5073
                                         Leslie A. Collins, La. Bar No. 14891
                                         HELLER, DRAPER & HORN, L.L.C.
                                         650 Poydras Street, Suite 2500
                                         New Orleans, LA 70130-6103
                                         Telephone: 504.299.3300/Fax: 504.299.3399
                                         E-mail:ddraper@hellerdraper.com
                                         E-mail:lcollins@hellerdraper.com

                                         Attorneys for the Apostolates




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                                  CERTIFICATE OF SERVICE

         I, Douglas S. Draper, hereby certify that a copy of the above and foregoing has been served
  on April 8, 2022, upon the following parties via this Court’s electronic notification system as
  follows:


         Christine W. Adams cadams@kinneylaw.com
         A. Brooke Watford Altazan baltazan@stewartrobbins.com,
          baltazan@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdr
          ive.com;gtaylor@stewartrobbins.com;gtaylor@ecf.courtdrive.com
         David Winston Ardoin david@amotriallawyers.com,
          renee@amotriallawyers.com
         Laura F. Ashley lashley@joneswalker.com, laura-ashley-
          4406@ecf.pacerpro.com
         John Baay jbaay@glllaw.com
         Jerry A. Beatmann jay.beatmann@dentons.com,
          dee.mcgill@dentons.com;sam.alberts@dentons.com;malka.zeefe@dentons.co
          m;lori.odum@dentons.com
         Alicia M. Bendana abendana@lawla.com,
          rmichel@lawla.com;seaton@lawla.com
         Richard A. Bordelon rbordelon@denechaudlaw.com
         Derek T Braslow derek@thebraslowfirm.com
         Brandon A. Brown bbrown@stewartrobbins.com,
          bbrown@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdri
          ve.com;gtaylor@stewartrobbins.com;gtaylor@ecf.courtdrive.com
         Joseph M. Bruno jbruno@brunobrunolaw.com, Don@brunobrunolaw.com
         Steven Bryant steven.bryant@lockelord.com
         Amelia L Bueche amelia.hurt@kellyhart.com
         Elwood F. Cahill ecahill@shergarner.com
         Andrew William Caine acaine@pszjlaw.com
         Deborah J Campbell deborah.campbell@dentons.com
         Jamie Dodds Cangelosi jcangelosi@stewartrobbins.com,
          jcangelosi@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.court
          drive.com;gtaylor@stewartrobbins.com;gtaylor@ecf.courtdrive.com
         Linda F Cantor lcantor@pszjlaw.com
         Desiree M. Charbonnet dcharbonnet@desireelaw.com
         William G. Cherbonnier wgc@billcherbonnier.com,
          caludagroupllc@jubileebk.net
         Everett J. Cygal ecygal@schiffhardin.com
         John H. Denenea jdenenea@midcitylaw.com,
          wdominguez@midcitylaw.com


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         Eric J Derbes ederbes@derbeslaw.com,
          derbespacer@gmail.com;derbeser72443@notify.bestcase.com
         Ross J. Donnes rdonnes@tcmlawfirm.net
         Douglas S. Draper ddraper@hellerdraper.com, vgamble@hellerdraper.com
         John Douglas Elrod elrodj@gtlaw.com
         Joseph Mark Fisher mfisher@schiffhardin.com
         Elizabeth J. Futrell efutrell@joneswalker.com,
          mmontiville@joneswalker.com;lisa-futrell-4186@ecf.pacerpro.com
         Amanda Burnette George Amanda.B.George@usdoj.gov
         Jeremy Gettes jgettes@gertlerfirm.com
         William P. Gibbens billy@semmlaw.com, terri@semmlaw.com
         Soren Erik Gisleson sgisleson@hhkc.com, jchauvin@hhkc.com
         Brodie Glenn bglenn@bradleyfirm.com
         Alan H. Goodman alan.goodman@bswllp.com, moorek@bswllp.com
         Ashley J. Heilprin ashley.heilprin@phelps.com
         Evan Park Howell ehowell@ephlaw.com, cathyt3@cox.net
         Stephen Michael Huber stephen@huberthomaslaw.com
         Sara Hunkler shunkler@ruggerilaw.com
         Wayne J. Jablonowski wjjlaw@bellsouth.net
         Annette W Jarvis jarvisa@gtlaw.com
         Lillian Jordan ljordan@donlinrecano.com,
          rmapa@donlinrecano.com;nefrecipients@donlinrecano.com;jestrada@donlinre
          cano.com;fcardona@donlinrecano.com
         Benjamin Kadden bkadden@lawla.com, mnguyen@lawla.com
         Allison Kingsmill akingsmill@joneswalker.com
         Bradley C. Knapp bknapp@lockelord.com,
          AutoDocket@LockeLord.com;Ashley.Lohr@lockelord.com
         Dylan K. Knoll dknoll@denechaudlaw.com
         Omer F. Kuebel rkuebel@lockelord.com, Yamille.Harrison@lockelord.com
         Heather A. LaSalle halexis@hinshawlaw.com, lgraff@mcglinchey.com
         Frank E. Lamothe felamothe@lamothefirm.com
         Julien Guy Lamothe jlamothe@lamothefirm.com
         Mark C. Landry mlandry@newmanmathis.com
         Darryl T. Landwehr dtlandwehr@att.net, dtlandwehr@gmail.com
         Mary S. Langston Mary.Langston@usdoj.gov
         Joseph J Lowenthal jlowenthal@joneswalker.com
         Ryan Luminais rluminais@shergarner.com
         Thomas J. Madigan tmadigan@shergarner.com
         Wayne A. Maiorana tmaiorana@newmanmathis.com
         Wilson Lewis Maloz wmaloz@lpwsl.com
         Robert A. Mathis rmathis@newmanmathis.com


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         Donald Andrew Mau dmau@meliaslaw.com
         Patrick Maxcy patrick.maxcy@dentons.com
         Gerald Edward Meunier gmeunier@gainsben.com,
          dmartin@gainsben.com
         Allen C. Miller allen.miller@phelps.com
         Mark Mintz mmintz@joneswalker.com, mark-mintz-
          4822@ecf.pacerpro.com
         M. Keith Moskowitz keith.moskowitz@dentons.com
         Colleen A Murphy murphyc@gtlaw.com
         Samantha Oppenheim soppenheim@joneswalker.com, samantha-
          oppenheim-7970@ecf.pacerpro.com
         Dwight C Paulsen tpaulsen@bradleyfirm.com
         Felecia Y Peavy felepeavy@juno.com
         Nancy Peterman petermann@gtlaw.com
         William S. Robbins wrobbins@stewartrobbins.com,
          wrobbins@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtd
          rive.com;gtaylor@stewartrobbins.com;gtaylor@ecf.courtdrive.com
         Craig Robinson craig@rlolegal.com
         Nicholas Rockforte nicholas@onmyside.com
         Keith A. Rodriguez Krodriguez@keithrodriguez.com
         Samuel M. Rosamond srosamond@twpdlaw.com, jgreen@twpdlaw.com
         Richard A Rozanski richard@rarlaw.net
         David Rubin David.Rubin@butlersnow.com
         Logan Elizabeth Schonekas logan@huberthomaslaw.com
         Glenn K. Schreiber glenn.schreiber@usdoj.gov,
          bonnie.bodenheimer@usdoj.gov;caseview.ecf@usdoj.gov;Vanessa.brown@us
          doj.gov
         Kristi Schubert kschubert@lamothefirm.com
         Stephen P. Scullin scullin@carverdarden.com, baradell@carverdarden.com
         Peter James Segrist segrist@carverdarden.com, clary@carverdarden.com
         Ryan M. Seidemann seidemannr@ag.louisiana.gov
         Patrick M. Shelby rick.shelby@phelps.com, trisha.crombie@phelps.com
         Nicholas Smeltz nsmeltz@stewartrobbins.com,
          nsmeltz@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdri
          ve.com;gtaylor@stewartrobbins.com;gtaylor@ecf.courtdrive.com
         David M Spector dspector@schiffhardin.com
         Roger Stetter rastetter47@yahoo.com
         Paul Douglas Stewart dstewart@stewartrobbins.com,
          dstewart@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdr
          ive.com;gtaylor@stewartrobbins.com;gtaylor@ecf.courtdrive.com
         Jefferson R. Tillery jtillery@joneswalker.com


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         Richard Trahant trahant@trahantlawoffice.com
         Office of the U.S. Trustee USTPRegion05.NR.ECF@usdoj.gov
         R. Patrick Vance pvance@joneswalker.com,
          nwiebelt@joneswalker.com;patrick-vance-7526@ecf.pacerpro.com
         Richard P Voorhies Richard@voorhieslaw.com, tosha@voorhieslaw.com
         David F. Waguespack waguespack@carverdarden.com,
          docket@carverdarden.com;plaisance@carverdarden.com
         David E. Walle dwalle@bfrob.com, aadams@bfrob.com
         John W. Waters jwaters@bfrob.com, aadams@bfrob.com
         Regina S. Wedig reginawedig@wediglaw.com, rswedig@hotmail.com
         Edward Dirk Wegmann dwegmann@joneswalker.com
         Joshua D Weinberg jweinberg@ruggerilaw.com
         Brittany Rose Wolf-Freedman bwolf@gainsben.com,
          sburrell@gainsben.com
         Wayne George Zeringue wzeringue@joneswalker.com
         Michael S. Zerlin mzerlin@netscape.net


                                 /s/ Douglas S. Draper
                                 Douglas S. Draper




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